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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CASE NO. 06-11188', SEC A
JOYCELYN M. RAYMOND CHAPTER 1'3
OB.]ECTION TO CONFIRMATION OF CHAPTER 13 PLAN

NOW IN'TO COURT, through undersigned counselg comes Beneticial Mortgage_ Co. of
Louisiana ("Creditor"), a secured creditor in the above entitled and numbered case, Who
respect[illly represents as folloWs:

l.

Creditor is a Secured creditor in the above entitled case by virtue of its holding a note
secured by a mortgage affecting certain property located in Harvey, Louis-iana. The note and
mortgage is payable in monthly installments, and the property affected by the mortgage is the
home ot` Debtor.

2.
At the time of filing this ease on November 01, 2'006, the pre petition arrearages totaled

31,466.65 and the principal and interest OWed to Creditor Was $87,800.75.

3.

The plan of the Debtor proposes to pay Beneicial Mortgage Co. of Louisiana $2_,50().00
in pre petition arrearages and proposes to pay the regular monthly mortgage payments directly
Outside' of the plan

4.
The plan of the Debtor also states “The lien of Beneticial Mortgage Co. is to be avoided

in its entirety pursuant to ll U.S.C. § 522(t`)(2)(A). This plan, upon confirmation, reduces the

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secured claim of Beneflcial from 586,315.15_ to $0..00. The amount of $86,315.15 shall be
stripped away as there is no equity to. attribute to its hen"’
5.

The Debtors Schedule D lists two loans With Beneficial Mortgage Co. of Louisiana. The
first loan in the amount of $82,837.25 is listed as a secured claiin. The second loan is listed in
the amount of $86,3 15. 16 and considered unsecured

6.

Creditor asserts that it holds the tirst and only mortgage on the subject property, Whieh is
the residence of the debtor and thereby protected by the anti modification provision of the
Banl<ruptcy code.

7.

For the foregoing reason, Oreditor objects to the confirmation of the plan proposed by the
Debtor.

WHEREFORE, CREDITOR PRAYS that confirmation of the Chapter 13 plan proposed
by the Debtor herein be denied by the Court.

DEAN MORRIS, L.L.P.
1820 Avenue of America
P. O. BoX 1527()
Monr.oe,_ LA 71207-'5270

(318) ass-1440

/'S/ Candace A Courteau
ATTORNEY FOR CREDITOR

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CASE NO. 06-11188
JOYCELYN M. RAYMOND CHAPTER 13
CERTIFICATE OF SERVICE

 

1, Candace A. Courteau, hereby certify that l have notified the following interested paltie_s
of` the Objection to Confirmation of` the Cbapter 13 Plan filed by Beneficial Mortgage Co. of`

Louisiana, as reflected on the foregoing notice, to-Wit:

Joycelyn M. Raymond S. J. Be'aulieu: Jr.

1924 Pailet Avenue Trustee

Har'vey, LA 70058' 433 Metairie Road
Suite 307

Metairie, LA 70005

Fatima A Skimin Oftice of` the U.S. Trustee
Attomey at Law 400 Poydra-s Str'eet

l 100 Poy'dras Suite 2110_1 TeXaco Center
Suite 2900 NeW Orleans, LA 70130
NeW Orleans, LA 70'163

by mailing or 'emailing this notice and a copy of the Object.ion to Confirrnation of` Chapter 13
Plan filed herein by United _State_s Mail, first class, postage prepaid and properly addressed, all on
this the 21st day of`December, 2006.

DEAN MORRIS, L.L.P.
1820 Avenue of America
P. O. BoX 15270
Monroe, LA 71207`-5270
(318) 388-1440

/S/ C-andace A Courteau
ATTORNEY F'OR CREDITOR

